Case 1:22-cv-10904-JSR   Document 187-5   Filed 06/15/23   Page 1 of 8




                         EXHIBIT 5
Case 1:22-cv-10904-JSR   Document 187-5   Filed 06/15/23   Page 2 of 8
Case 1:22-cv-10904-JSR   Document 187-5   Filed 06/15/23   Page 3 of 8
Case 1:22-cv-10904-JSR   Document 187-5   Filed 06/15/23   Page 4 of 8
Case 1:22-cv-10904-JSR   Document 187-5   Filed 06/15/23   Page 5 of 8
Case 1:22-cv-10904-JSR   Document 187-5   Filed 06/15/23   Page 6 of 8
Case 1:22-cv-10904-JSR   Document 187-5   Filed 06/15/23   Page 7 of 8
Case 1:22-cv-10904-JSR   Document 187-5   Filed 06/15/23   Page 8 of 8
